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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   UNITED STATES OF AMERICA,                               CASE NO. CR12-0237-JCC
10                             Plaintiff,                    ORDER
11                     v.

12   DEMONTA HENRY,

13                             Defendant.
14

15          This matter comes before the Court on the Government’s motion to seal (Dkt. No. 1083)
16   exhibits (Dkt. No. 1084) to its memorandum regarding disposition of supervised release
17   violations (Dkt. No. 1082). Having thoroughly considered the Government’s motion and the
18   relevant record, the Court hereby DENIES the motion.
19          “[T]here is a strong presumption of public access to [the Court’s] files.” W.D. Wash.
20   Local Civ. R. 5(g)(3); Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978). However, a
21   particularized showing of good cause will suffice to maintain under seal documents attached to a
22   motion that does not address the procedural basis of the case. Foltz v. State Farm Mut. Auto. Ins.
23   Co., 331 F.3d 1122, 1135 (9th Cir. 2006). This rule provides an exception to the “strong
24   presumption in favor of [public] access” to judicial records. Kamakana v. City & Cnty. of
25   Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (citing Foltz, 331 F.3d at 1135).
26          The Government asks the Court to order that the exhibits submitted with its sentencing


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 1   memorandum be sealed in order to “protect the victim’s privacy.” (Dkt. No. 1083 at 2.) The

 2   exhibits at issue are documents and photos that support a pending assault charge against the

 3   Defendant in state court. (Dkt. No. 1082 at 3–4.) The Government has redacted the victim’s

 4   name and other personal identifying information from the exhibits.

 5          The Government has not made a particularized showing of good cause that supports

 6   maintaining the exhibits under seal. First, the Government will be using the exhibits to argue that

 7   Defendant committed a probation violation and should be sentenced to a seven month term of

 8   incarceration. (Dkt. No. 1082 at 1.) Second, some of the exhibits—for example, the charging
 9   documents—are already in the public record as part of the state assault charge. Because that case
10   is still pending, there is a fair possibility that more of the exhibits will become public. Finally,
11   the current redactions of the exhibits work to protect the victim’s privacy.
12           For those reasons, the Government’s motion to seal (Dkt. No. 1083) is DENIED. The
13   Clerk is DIRECTED to unseal the exhibits currently filed under Docket Number 1084.
14          DATED this 7th day of May 2018.
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                                                            John C. Coughenour
19                                                          UNITED STATES DISTRICT JUDGE
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